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                                    MINUTES



 CASE NUMBER:           CR NO. 17-00101LEK
 CASE NAME:             USA vs. (01) ANTHONY T. WILLIAMS
 ATTYS FOR PLA:
 ATTYS FOR DEFT:
 INTERPRETER:


      JUDGE:      Leslie E. Kobayashi          REPORTER:

      DATE:       08/27/2018                   TIME:


COURT ACTION: EO: Defendant (01) Anthony T. Williams’ Motion [305] for
Reconsideration re [302] Court’s Order for Extension of Time to File Response/Reply as
to [294] Sworn Motion to Dismiss Superseding Indictment will be considered by Judge
Leslie E. Kobayashi as a Non Hearing Motion.

Responsive Memorandum or Memorandum in Opposition is due 9/10/2018.
Reply Memorandum is due 9/27/2018.

Defendant (01) Anthony T. Williams’ Motion [305] for Reconsideration will be taken
under submission thereafter. Court to issue Order.

Submitted by: Warren N. Nakamura, Courtroom Manager
